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             EXHIBIT 5 
                      
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External Incident: IC10005749071                                                                               |       |    |
Created By                                 DAVID JENNY                               Date Created           12/16/2015
Status                                     Closed                                    Legal Hold? [?]


Incident Detail
                                           14417 - Store #14417 - 568 W 125TH ST Date of Incident [?] 12/16/2015
* Location
                                           NEW YORK, NY                              Incident Time [?]      6:21:00 AM
1 - Location Type                          Store                                     Event Type             External
2 - Department                             Field APM                                 * Predication          Store Operations
3 - Leadership                             Senior Director APS                       Source [?]
4 - Management                             APD 35 JOE STEIN                          * Type of External     Robbery
Store Phone Number                                                                   Event

Address
City
State                                      NY
ZIP
                                           D00760 Upper Manhattan DWAYNE
District
                                           RICHARDS
Region                                     R00035 Duane Reade Jeff Bruneteau




Details
* How many       1                    * Was the event Attempted or Successful? Successful (Drugs/Merchandise/Cash/Personal
Subjects were                                                                  Property were stolen)
involved?                             * Were weapons involved?                      Yes
* Were           No                   * Weapon                                      Gun
controlled
                                      * Were there any injuries?                    No
drugs stolen?
* Does Privacy No
need to be
notified?



Law Enforcement Information
* Was Law Enforcement           Yes                              Officer's Name                   Det. Vincent Signoretti
Notified?                                                        Badge Number
Subject arrested?               No                               Police Department Name           NYPD 26 PCT
Date Police Were Called         12/16/2015                       Police Department Case #
Time Police Were Called         6:25:00 AM


* Was Any Vehicle Information Obtained?                            No




People
Subject description
Approximate                     Approximate              Approximate
                      Race                                                     Gender * Please describe unique identifiers
Age                             Height                   Weight
                                                                                          Subject wearing hoodie, gloves and
25 - 35               Unknown   5ft - 5ft, 6in           150 - 200 lbs            Male
                                                                                          mask



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Subject(s)

Victim
CIERA WASHINGTON (Employee)

Last Name                                                                    WASHINGTON
Middle Name                                                                  C
First Name                                                                   CIERA
Home Address
Address 2
City
State
Zip / Postal Code
Birth Date
Job Title                                                                    Shift Leader Duane Reade
Employee ID [?]                                                              2534450
Employee Status                                                              Terminated
Department                                                                   District Management
Company Hire Date                                                            9/16/2015
Separation Date                                                              2/23/2016


Witness




Robbery Details
* Was the SOC notified?    Yes                               * Was there any media            No
* Was the site forced to   Yes                               attention received from the
close as a result of the                                     incident?
incident?                                                    * Entry Point                    Front Entrance
* How long was the site    1-4 Hours                         * Exit Point                     Front Entrance
closed?                                                                                       Showed Weapon
                                                             *   Mode of Operation
* Did the burglar alarm    No                                                                 Forced Door Open
activate?




Case Summary
Losses (Do NOT use for Tote, Dolly, Pallet, Cage theft)
Loss Type                                        Total Loss Dollars

Cash                                             $3,719.00



Evidence Attachments
(After attaching Digital Evidence, Retain a Hard Copy Only if Required by Authorities) (5)
Description                     File Name                         Attached By        Date           Evidence given to PD
CCTV VIDEO RECORDING            Entrance overhead.dav             DAVID JENNY        12/21/2015     0

CCTV VIDEO RECORDING            Entrance profile.dav              DAVID JENNY        12/21/2015     0

CCTV VIDEO RECORDING            Office.dav                        DAVID JENNY        12/21/2015     0
CCTV VIDEO RECORDING            Register 5.dav                    DAVID JENNY        12/21/2015     0



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CCTV VIDEO RECORDING            Registers 3 & 4.dav.dav         DAVID JENNY        12/21/2015        0



External Case Summary
STL Ciera Washington opened the store gates at approximately 6:21am and entered the store alone. While STL Washington was
disarming the store alarm, the Suspect entered through the unlocked entrance. He brought STL Washington to the office and
made her open the store safe and give him all the cash from inside. STL Washington stated that the Subject had a gun and hit
her in the face with the weapon.



Restitution Payments
Date Paid             Amount Paid                 Register Number                     Transaction Number




Related Events
Related incident




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